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165 MILL ST
LEOMINSTER, WA 01453

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Case 4:12-cv-40022-TSH Document 1-7 Filed 02/27/12 Page 2 of 2

) FallonClinic

Treating you well?

2/10/2014

RE:

Susan J Trainor

44 Penobseatt Ave
Hubbardston MA 01452

Susan Tralnor is under my care for an Inflammatory Arthritis which causes pain and
swelling in her joints. This also causes secondary Irritable Bowel Syndrome. During
times of flares her syrnptoms may interfere with her ability to work. These symptoms
may also cause her to be late for work or require that she leave early.

Susan may require to be out of work for a total of up to 3 full working days per week
when flares are severe.

Alice A. Williams, MD
LEOMINSTER RHEUMATOLOGY
465 Mill St

Leominster MA 01453
Dept Phone: 978-466-3333
